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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


    KURIAN DAVID, et al,,
                                            Plaintiffs,                   CIVIL ACTION
           v.
                                                                          No. 08-1220
    SIGNAL INTERNATIONAL, LLC, et al.,
                            Defendants.                                   Section “E”

    Related Cases:

    LAKSHMANAN PONNAYAN ACHARI, et al.,                                   CIVIL ACTION
                         Plaintiffs,
        v.                                                                No. 13-6218 (c/w 13-6219, 13-
                                                                          6220, 13-6221, 14-732, 14-1818)
    SIGNAL INTERNATIONAL, LLC, et al.,
                            Defendants.                                   Section “E”



    EQUAL EMPLOYMENT OPPORTUNITY                                          CIVIL ACTION
    COMMISSION,
                          Plaintiff,                                      No. 12-557
        v.
                                                                          Section “E”
    SIGNAL INTERNATIONAL, LLC, et al.,
                            Defendants.


Applies To: No. 08-1220

    JOINT MOTION FOR EXTENSION OF THE PERIOD TO REOPEN PROCEEDINGS

         The David Plaintiffs and Defendants Sachin Dewan and Dewan Consultants Pvt. Ltd.

(“Dewan Defendants”) respectfully submit this Joint Motion for Extension of the Period to Reopen

Proceedings.1 In support of this motion, the David Plaintiffs and the Dewan Defendants state as

follows:


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   The “Joint Plaintiffs” in the matter of Achari v. Signal, No. 13-6218 (c/w Chakkiyattil v. Signal, 13-6219;
Krishnakutty v. Signal, 13-6220; Devassy v. Signal, 13-6221; Singh v. Signal, 14-732; Thomas v. Signal, 14-1818)
filed this motion on July 31, 2018 and included the David v. Signal Int’l matter in that filing. Achari ECF No. 789.
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        On April 26, 2017, this Court entered an order of partial dismissal of these cases as between

the David Plaintiffs and the Dewan Defendants. ECF No. 2652. In that order, the Court specified

that the dismissal was “without prejudice to the right, upon good cause shown, on or before August

1, 2018, to reopen the action if the settlement is not consummated.” Pursuant to Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 381-82 (1994), and Hospitality House, Inc. v. Gilbert,

298 F.3d 424, 430 (5th Cir. 2002), the Court further specifically retained jurisdiction to enforce

the settlement agreement and the sealed filing entered by the Dewan Defendants as part of such

settlement agreement in David v. Signal Int’l, LLC, No. 08-1220, on April 6, 2017.

        The settlement is not yet fully consummated, but the David Plaintiffs and the Dewan

Defendants anticipate that it will be fully consummated by no later than October 1, 2018.

Particularly, the settlement agreement required the Dewan Defendants to make two payments into

a trust, the first in July 2017 and the second in July 2018. The Dewan Defendants made the first

payment in full when due in July 2017, and timely paid 70 percent of the amount due in July 2018,

with agreement from the David and the Joint Plaintiffs in Achari to pay the remaining amount due

on or before September 3, 2018. The settlement will be fully consummated as of the date the

Dewan Defendants pay the remaining amount due.

                 WHEREFORE, for the foregoing reasons, the David Plaintiffs and the Dewan

Defendants respectfully request that this Court enter an order, substantially in the form attached

hereto, extending the time during which this action may be reopened as between the David

Plaintiffs and the Dewan Defendants until October 1, 2018. The David Plaintiffs and the Dewan

Defendants further respectfully request that the Court continue to retain jurisdiction pursuant to

Kokkonen, 511 U.S. 375 at 381-82, and Hospitality House, 298 F.3d at 430.


Because the David and Achari matters are not consolidated, the Court subsequently requested that the David Plaintiffs
file this motion separately in the David matter.


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 Respectfully submitted this 2nd day of August, 2018,


                                     /s/ Daniel Werner___________________
                                     Daniel Werner (Trial Counsel)
                                     (Admitted Pro Hac Vice)
                                     SOUTHERN POVERTY LAW CENTER
                                     150 E. Ponce de Leon Avenue, Suite 340
                                     Decatur, GA, 300030
                                     Telephone: (404) 521-6700
                                     Facsimile: (404) 221-5857
                                     daniel.werner@splcenter.org

                                     Meredith B. Stewart
                                     SOUTHERN POVERTY LAW CENTER
                                     201 Saint Charles Avenue, Suite 2000
                                     New Orleans, LA 70170
                                     Telephone: (504) 486-8982
                                     Facsimile: (504) 486-8947
                                     meredith.stewart@splcenter.org

                                     Attorneys for the David Plaintiffs


                                     AND


                                     /s/ Stephen H. Shaprio           .
                                     Stephen H. Shapiro, #21076
                                     Attorney at Law
                                     A Limited Liability Company
                                     700 Camp Street
                                     New Orleans, LA 70130
                                     Tel: (504) 309-8442
                                     steve@shapirolaw-nola.com

                                     Attorney for Sachin Dewan and Dewan
                                     Consultants Pvt. Ltd.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have served a copy of the above and foregoing Joint Motion

for Extension of the Period to Reopen Proceedings using this Court's CM/ECF system to counsel

of record participating in the CM/ECF system, or by placing signed copies in the United States

mail, properly prepaid, to counsel of record not participating in the CM/ECF system, on this 2nd

day of August, 2018.


                                                           /s/ Daniel Werner
                                                               Daniel Werner




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